              8:24-cr-00057-RFR-MDN Doc # 12 Filed: 03/22/24 Page 1 of 2 - Page ID # 22
AO 472 (Rev. 11/16), modified by NED (9/17)



                                        UNITED STATES DISTRICT COURT
                                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                   v.                                                                  Case No. 8:24cr57

KELTON CHILSON,                                                        ORDER OF DETENTION PENDING TRIAL
                              Defendant


                                                  Part I - Eligibility for Detention

       Upon the
             ☒ Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1),
the Court held a detention hearing and found that detention is warranted.

      This order sets forth the Court’s findings of fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in
addition to any other findings made at the hearing.
                             Part II - Findings of Fact and Law as to Presumptions under § 3142(e)




                                   Part III - Analysis and Statement of the Reasons for Detention
     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention hearing,
the Court concludes that the defendant must be detained pending trial because the Government has proven:
   ☒ By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
      the safety of any other person and the community.
   ☒ By a preponderance of evidence that no condition or combination of conditions of release will reasonably assure the
      defendant’s appearance as required.
In addition to any findings made on the record at the hearing, the reasons for detention include the following:
       ☒ Subject to lengthy period of incarceration if convicted
       ☒ Prior criminal history
       ☒ History of violence or use of weapons
       ☒ History of alcohol or substance abuse
       ☒ Lack of stable employment
       ☒ Prior failure to appear in court as ordered
       ☒ Prior attempt(s) to evade law enforcement
       ☒ The nature and circumstances of the offense charged.
       ☒ The current offense is a crime of violence.
       ☒ The mental condition of the defendant.
       ☒ The nature and seriousness of the danger posed by the defendant’s release.

OTHER REASONS OR FURTHER EXPLANATION:
Pending out of district warrant.
                                              Part IV - Directions Regarding Detention

                                                                                                                    Page 1 of 2
           8:24-cr-00057-RFR-MDN Doc # 12 Filed: 03/22/24 Page 2 of 2 - Page ID # 23


The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person
in charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance
in connection with a court proceeding.

Date:              3/22/2024                                              s/ Michael D. Nelson
                                                                        United States Magistrate Judge




                                                                                                                   Page 2 of 2
